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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW HAMPSHIRE
                           55 PLEASANT STREET, ROOM 110
                         CONCORD, NEW HAMPSHIRE 03301-3941

OFFICE OF THE CLERK
 Daniel J. Lynch, Clerk of Court                                      Telephone: 603-225-1423
 Tracy A. Uhrin, Chief Deputy Clerk                                 Web: www.nhd.uscourts.gov

                                                     March 31, 2022

      Re:      19-cv-1169-AJ, Kevin Rocheville v. Thomas Goulden, et al

      To:      Clerk, Hillsborough Superior Court
               Formerly your case #(s): 226-2019-CV-00693



        By Court order, the above case was remanded to your court. We enclose a certified copy
of the order and docket entries.

       Counsel/pro se parties are herewith notified by copy of this letter that no pleadings (or
copies of pleadings) filed in our court are being sent to the Superior Court. If there are
outstanding issues which counsel/pro se parties wish the Superior Court to consider, copies of
such pleadings shall be refiled with the Superior Court Clerk.

        Orders of remand are not reviewable on appeal or otherwise, except as provided in 28
U.S.C. § 1447(d) and 28 U.S.C. § 1453(c), and certification decisions regarding whether a
federal employee named in a tort action was acting within the scope of employment pursuant to
28 U.S.C. § 2679. See Osborn v. Haley, 549 U.S. 225 (2007).


                                                     DANIEL J. LYNCH
                                                     CLERK

Enclosures
